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    EXHIBIT 1
       Distribution Motion Claim Amt. (ECF 541-2)          Interest Motion Claim Amt. (ECF 582-1)        Supplemental Motion Claim Amt. ECF 613-1)    claimnumber1    claimnumber2
 1 $                                          752.33   $                                    769.79   $                                    68,553.41 WCF0116733
 2 $                                       21,826.43   $                                22,339.10    $                                    20,751.00 WCF0129006       WCF0146643
 3 $                                       12,879.87   $                                13,182.16    $                                    12,245.76 WCF0128700       WCF0189208
 4 $                                          556.24   $                                    568.74   $                                        530.04 PCF0001622
 5 $                                           13.23   $                                     13.31   $                                        346.11 WCF0168720
 6 $                                           78.73   $                                     80.00   $                                        150.19 WCF0186345
 7 $                                           28.70   $                                     28.79   $                                         93.10 WCF0128573      WCF0155534
 8 $                                           57.34   $                                     58.46   $                                         55.01 WCF0117041
 9 $                                           44.03   $                                     44.48   $                                         43.09 WCF0123286
10 $                                           12.09   $                                     12.13   $                                         34.88 WCF0122235
11 $                                           10.00   $                                     10.00   $                                         34.34 WCF0105560      WCF0150325
12 $                                           33.77   $                                     33.98   $                                         33.34 WCF0174625
13 $                                           10.36   $                                     10.37   $                                         32.79 PCF0003962      PCF0004324
14 $                                           30.35   $                                     30.48   $                                         30.09 WCF0125119
15 $                                        1,425.88   $                                 1,458.82    $                                      1,356.77 WCF0191954
                                                                                                                                                                                     Case 1:17-cv-03139-LGS-SDA Document 617-1 Filed 01/02/24 Page 2 of 2
